589 F.2d 1113
    19 Fair Empl.Prac.Cas.  887
    Brownv.Pena***
    No. 78-2547
    United States Court of Appeals, Fifth Circuit
    2/1/79
    S.D.Fla., 441 F.Supp. 1382
    AFFIRMED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        **
         Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    